     Case 2:14-cr-00168-TOR            ECF No. 1537         filed 03/07/16      PageID.7938 Page 1 of 3
PROB 12C                                                                               Report Date: March 7, 2016
(7/93)

                                       United States District Court                             FILED IN THE
                                                                                            U.S. DISTRICT COURT
                                                                                      EASTERN DISTRICT OF WASHINGTON
                                                       for the
                                                                                              3/7/16
                                        Eastern District of Washington                     SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Randy Edsal Quentin Hewson               Case Number: 0980 2:14CR00168-TOR-9
 Address of Offender:                       Spokane, Washington 99207
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, Chief U.S. District Judge
 Date of Original Sentence: June 17, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1349 and 1344
 Original Sentence:       Prison 12 months;                 Type of Supervision: Supervised Release
                          TSR - 48 months
 Asst. U.S. Attorney:     George JC Jacobs, III             Date Supervision Commenced: December 9, 2015
 Defense Attorney:        Federal Public Defender’s         Date Supervision Expires: December 8, 2019


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition #18: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                        patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                        to confirm continued abstinence from these substances.

                        Supporting Evidence: On February 19, 2016, Mr. Hewson violated his conditions of
                        supervision in Spokane, Washington, by using oxycodone. Mr. Hewson reported to the U.S.
                        Probation Office on or about February 23, 2016, and signed a drug use admission form
                        admitting to the use of oxycodone on February 19, 2016. Mr. Hewson does not have a valid
                        prescription for oxycodone.

           2            Special Condition #18: Defendant shall abstain from the use of illegal controlled
                        substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                        patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                        to confirm continued abstinence from these substances.

                        Supporting Evidence: On February 20, 2016, Mr. Hewson violated his conditions of
                        supervision in Spokane, Washington, by consuming methamphetamine and heroin. Mr.
                        Hewson reported to the U.S. Probation Office on or about February 23, 2016, and signed a
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                     drug use admission form admitting to the use of methamphetamine and heroin on or about
                     February 20, 2016.

          3          Special Condition #18: Defendant shall abstain from the use of illegal controlled
                     substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                     patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                     to confirm continued abstinence from these substances.

                     Supporting Evidence: On February 24, 2016, Mr. Hewson violated his conditions of
                     supervision in Spokane, Washington, by using methamphetamine and heroin. Mr. Hewson
                     submitted to a urinalysis test which revealed presumptive positive for opiates. The urine
                     sample was sent to Alere Toxicology for further testing. On February 29, 2016, the urine
                     sample returned from the lab showing a positive result for morphine and a second report
                     received on March 1, 2016, revealed positive results for methamphetamine.

          4          Special Condition #18: Defendant shall abstain from the use of illegal controlled
                     substances, and shall submit to urinalysis testing (which may include urinalysis or sweat
                     patch), as directed by the supervising officer, but no more than 6 tests per month, in order
                     to confirm continued abstinence from these substances.

                     Supporting Evidence: On February 25, 2016, Mr. Hewson violated his conditions of
                     supervision in Spokane, Washington, by using opiates. Mr. Hewson submitted a urine
                     sample at Alcohol Drug Education Prevention and Treatment(ADEPT) which revealed
                     presumptive positive for opiates. The urine sample was sent to Alere Toxicology for further
                     testing.


          5          Special Condition # 16: Defendant shall undergo a substance abuse evaluation and, if
                     indicated by a license/certified treatment provider, enter into and successfully complete an
                     approved substance abuse treatment program, which could include inpatient treatment and
                     aftercare. Defendant shall contribute to the cost of treatment according to his ability to pay.
                     Defendant shall allow full reciprocal disclosure between the supervising officer and
                     treatment provider.

                     Supporting Evidence: Mr. Hewson violated his conditions of supervision in Spokane,
                     Washington by failing to attend chemical dependancy treatment sessions at Alcohol Drug
                     Education Prevention and Treatment (ADEPT). Mr. Hewson failed to attend treatment on
                     February 16, 17, 18, 23, and 25, 2016.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear
to answer to the allegations contained in this petition.



                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     3/3/2016
                                                                            s/Corey M McCain
                                                                            Corey M McCain
                                                                            U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [9 ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                               Signature
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                                                                                       Officer

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                                                           Date
